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United States Court of Appeals

FOR THE DISTRICT OF COLUMBIA CIRCUIT

No. 10-5213 September Term, 2010

FILED ON: JUNE 14, 2011

AMERICAN BUS ASSOCIATION,
APPELLEE

Vv.
PETER M. ROGOFF, HONORABLE, ADMINISTRATOR, FEDERAL TRANSIT ADMINISTRATION AND

FEDERAL TRANSIT ADMINISTRATON,
APPELLANTS

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Consolidated with 10-5214 “, ; SS
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for the District of Columbia
(No. 1:10-cv-00686)
(No. 1:10-cv-00701)

Before: GARLAND and KAVANAUGH, Circuit Judges, and WILLIAMS, Sénior Circuit Judge

JUDGMENT

These causes came on to be heard on the record on appeal from the United States District
Court for the District of Columbia and were argued by counsel. On consideration thereof, it is

ORDERED and ADJUDGED that the judgment of the District Court appealed from in these
causes is hereby reversed, in accordance with the opinion of the court filed herein this date.

Per Curiam

FOR THE COURT:
Mark J. Langer, Clerk
BY:

/s/

Jennifer M. Clark

Deputy Clerk
Date: June 14, 2011
Opinion for the court filed by Circuit Judge Garland. dy: | { helm. ft 7, APPealg

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